        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 1 of 14




                                   STATEMENT OF FACTS

       Your affiant, John M. Mocello, is a Task Force Officer (“TFO”) with the Federal Bureau
of Investigation (“FBI”), currently assigned to the Washington Field Office. In my duties as a
TFO, I investigate federal crimes, including violent crime and domestic terrorism. Currently, I am
tasked with investigating criminal activity in and around the United States Capitol grounds on
January 6, 2021. As a TFO, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (“USCP”). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification are allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




                                                 1
          Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 2 of 14




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Evidence of JAMES TATE GRANT’s Involvement in the Assault on the U.S. Capitol

       Following the assault on the Capitol, the FBI identified a number of unknown individuals
who had allegedly assaulted federal officers. In particular, the FBI received a publicly available
Instagram video through its tip line that showed several rioters confronting at least five USCP
officers who were standing behind metal barricades with “AREA CLOSED” signs. The officers
and barriers were positioned along the Pennsylvania Avenue walkway preventing access to the
West Front of the Capitol Building. One of those individuals was listed on the FBI’s website as
UNSUB AFO #50. The FBI received multiple tips related to the possible identity of UNSUB AFO
#50. 1 There was one match, however, that identified UNSUB AFO #50 as JAMES TATE
GRANT. As discussed below, the FBI subsequently identified UNSUB AFO #50 as JAMES
TATE GRANT (“GRANT”).

       The Instagram video described above shows that on January 6, 2021, at or about 12:45 p.m.,
as preparations for the proceedings discussed above were underway in the House and Senate, a
large crowd gathered to the west of the U.S. Capitol around the Peace Monument, located in the
Pennsylvania Avenue, NW and 1st Street, NW and 1st Street roundabout. This location is
commonly referred to as “Peace Circle” by USCP officers.




                             Figure 1. Aerial Imagery of U.S. Capitol Grounds.


1
 The multiple tips identified several individuals by name. Law enforcement investigated these individuals and
confirmed they were not UNSUB AFO #50.

                                                        2
          Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 3 of 14




       The same Instagram video shows the crowd moving southeast to the threshold of the
sidewalk that connects Peace Circle to the U.S. Capitol Building, commonly referred to as the
“Pennsylvania Ave Walkway” by USCP officers. Metal barricades had been put in place by USCP
officers. The metal barricades were intended to keep the public away from the Capitol building
and the Congressional proceedings underway inside.

       At approximately 12:50 p.m., GRANT (circled in red in the screenshot below) and another
individual, subsequently identified as Ryan Samsel, 2 are observed leading the crowd past the fence
line. GRANT and the other individual approach a second line of barricades that were manned by
uniform USCP officers. The second line of barricades were constructed of metal bike rack barriers,
physically linked end to end, and reinforced with dark colored plastic mesh safety fencing affixed
behind the metal bike racks. The fence line was clearly marked with large white “AREA
CLOSED” signs with red bold lettering affixed to the fencing.




Figure 2 – GRANT leading crowd towards barricades blocking access to Pennsylvania Walkway




2
  The United States charged Ryan Samsel via complaint on or about January 29, 2021 in connection with his
conduct at the Capitol on January 6, 2021. See United States v. Samsel, 21-mj-188 (D.D.C. Jan. 29, 2021). On or
about August 25, 2021, a grand jury returned an indictment against Samsel charging him with violations of 18
U.S.C. §§ 231(a)(3); 111(a)(1) and (b); 1752(a)(4), (b)(1)(A), and (b)(1)(B); 1512(c)(2); and 40 U.S.C.
§5104(e)(2)(F). See United States v. Samsel, 21-cr-537 (TJK) (D.D.C. Aug. 25, 2021).

                                                        3
         Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 4 of 14




                                              Figure 3

       GRANT is observed in the same video standing up against a metal barricade gesturing
towards a USCP officer directly in front of him. GRANT is wearing a black and light gray baseball
cap, a black jacket with a black hood, a black and white mask covering the lower portion of his
face, black pants, black sneakers with white soles, and black gloves. A screenshot from the video
is shown below. GRANT is circled in red.




                          Figure 4 – GRANT confronting USCP officers

       Next, the video captures GRANT yelling at a second USCP officer and then, with other
rioters, GRANT lifts up the metal barricade and shoves it forward into the USCP officers pushing
the officers back from their positions and causing at least one officer to fall to the ground into the
steps behind her. One of the rioters jumps over the barricade and attacks two of the USCP officers.
As the officers attempt to apprehend the attacking rioter, GRANT interfered with their attempts to
apprehend the rioter by pulling the rioter back away from the officers. A third officer comes to

                                                  4
         Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 5 of 14




the aid of the two apprehending officers and punches GRANT. GRANT then gets up and attempts
to step over the fallen barricade towards the officers. The officers make a brief attempt to lift the
barricade back up, but the rioters, including GRANT, overwhelm the officers and move forward
towards the Capitol Building, forcing the officers to retreat from their position. Screenshots from
the video are shown below. GRANT is circled in red.




              Figure 5 – GRANT lifting and pushing barricade into USCP officers




          Figure 6 – GRANT interfering with officer attempting to apprehend attacker

                                                 5
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 6 of 14




                                          Figure 7

         Law enforcement obtained an additional video from YouTube that shows the same
altercation, but from a different angle. That video also depicts GRANT’s altercation with the
USCP officers, but also shows GRANT walking towards the Capitol Building after the altercation
with his hat off and his face mask lowered. Screenshots from that video are shown below. GRANT
is circled in red.




                                          Figure 8


                                              6
Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 7 of 14




                            Figure 9




                           Figure 10

                               7
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 8 of 14




                   Figure 11 – GRANT walking towards Capitol without mask




                                           Figure 12

        Law enforcement reviewed several photos of GRANT that were publicly available on the
Internet that depict GRANT participating in the events at the Capitol Building on January 6, 2021.
Several of the photos provided law enforcement with a clearer image of GRANT’s hat, which
contained the logo in the shape of the state of North Carolina with the writing “Drink Local.” Two
of the photos are shown below.

                                                8
Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 9 of 14




                           Figure 13




                           Figure 14

                               9
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 10 of 14




        Your affiant obtained the driver’s license photo for GRANT on file with the North Carolina
Division of Motor Vehicles (“DMV”). Your affiant compared GRANT’s North Carolina DMV
photo with the images of UNSUB AFO #50 depicted above, and both appeared to be the same
person.

        Your affiant obtained security video from the Capitol’s closed-circuit video (“CCV”). The
CCV footage shows GRANT entering the Capitol Building through a broken window next to the
Senate Wing Door at approximately 2:49 p.m. He is observed moving through the lobby for
several minutes before walking down the hallway towards Senate offices. He returns from the
same hallway several minutes later and exits the Capitol Building through the Senate Wing Door.
Screenshots from the CCV are shown below. GRANT is circled in red.




         Figure 15 – GRANT entering Capitol through window near Senate Wing Door




                                           Figure 16
                                               10
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 11 of 14




                                            Figure 17




             Figure 18 – GRANT exiting the Capitol through the Senate Wing Door

       During the course of this investigation, your affiant also obtained an additional video taken
from inside the Capitol Building on January 6, 2021, that shows GRANT inside of Senate offices
S140 and S145. Screenshots from that video are shown below. GRANT is circled in red.




                                                11
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 12 of 14




                              Figures 19 and 20 – GRANT in S145




                                  Figure 21 – GRANT in S140

        On or about May 18, 2021, U.S. Magistrate Judge G. Michael Harvey authorized a search
warrant to Verizon, the cellular carrier associated with GRANT’s cell phone number. Although
the records received pursuant to the search warrant requested location data, none was provided by
Verizon for January 6, 2021. However, records associated with GRANT’s phone number show
contact with a phone number ending in 9935 on January 6, 2021. Law enforcement determined
that the user of the phone number ending in 9935 is Gary Edwards (“Edwards”). Edwards is
depicted in the photo directly above wearing the black jacket and red, white, and blue wool cap,
and standing next to GRANT in Senate office S140. Edwards was charged by complaint and
arrested by the FBI Philadelphia Division on May 4, 2021 for being inside the U.S. Capitol on
January 6, 2021. See United States v. Gary Edwards, 1:21-cr-366 (JEB).


                                               12
        Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 13 of 14




        Pursuant to a court-authorized search warrant, Edwards’ cell phone was searched following
his arrest. Edwards’ phone contained the image shown below of GRANT inside of Senate office
S140. The data associated with the image indicates that the image was modified on January 6,
2021, at approximately 3:06 p.m., which suggests this is the time the photo was taken.




                                            Figure 22

       Based on the aforementioned evidence, there is probable cause to believe JAMES TATE
GRANT was present on U.S. Capitol grounds, entered the Capitol building, and committed related
offenses, including the assault on USCP officers outside the Capitol Building and obstruction of
Congressional proceedings at the U.S. Capitol building, located at First Street, NW, Washington,
D.C. 20510 on January 6, 2021.

        Therefore, your affiant submits that there is probable cause to believe that JAMES TATE
GRANT violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to use a deadly or
dangerous weapon to forcibly assault, resist, oppose, impede, intimidate, or interfere with any
person designated in section 1114 of Title 18 while engaged in or on account of the performance
of official duties. Persons designated within section 1114 include any person assisting an officer
or employee of the United States in the performance of their official duties.

        Your affiant submits there is also probable cause to believe that JAMES TATE GRANT
violated 18 U.S.C. §§ 231(a)(3) and 2, which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For the purposes of Section 231 of Title 18, a federally protected
function means any function, operation, or action carried out, under the laws of the United States,
by any department, agency, or instrumentality of the United States or by an officer or employee
thereof. This includes the Joint Session of Congress where the Senate and House count Electoral
College votes.


                                                13
Case 1:21-cr-00537-JMC Document 1-1 Filed 09/29/21 Page 14 of 14
